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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

FEDS FOR MEDICAL FREEDOM, et al.,                    )
                                                     )
Plaintiffs,                                          )
                                                     )
v.                                                   ) No. 3:21-cv-356
                                                     )
JOSEPH R. BIDEN, JR., et al.,                        )
                                                     )
Defendants.                                          )


                SUPPLEMENTAL NOTICE OF RELATED CASES

       On December 22, 2021, Plaintiffs filed a notice of related cases. See ECF No. 4.

Today, undersigned counsel became aware of the following recently filed case:

(1)    Doe v. Austin, 8:22-cv-121 (M.D. Fla.).

                                Respectfully submitted,

                                /s/ R. Trent McCotter
                                R. TRENT MCCOTTER (So. Dist. No. 3712529)
                                JONATHAN BERRY (pro hac vice)
                                MICHAEL BUSCHBACHER (pro hac vice)
                                JARED M. KELSON (pro hac vice)
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                                mccotter@boydengrayassociates.com
     Case 3:21-cv-00356 Document 33 Filed on 01/19/22 in TXSD Page 2 of 2




                          CERTIFICATE OF SERVICE
     I certify that on January 19, 2022, a true and accurate copy of the foregoing
document was filed electronically (via CM/ECF) and served on all counsel of record.
                                      /s/ R. Trent McCotter
                                      R. Trent McCotter




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